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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                     HAMMOND DIVISION

                                                            x
CRISTOBAL and THERESA ALVAREZ, et al.,                      :
                                                            :      Civil Action No. 2:17-cv-00414-RL-JEM
                                 Plaintiffs,                :
                                                            :      Judge Rudy Lozano
          v.                                                :      Magistrate Judge John E. Martin
                                                            :
ATLANTIC RICHFIELD COMPANY, et al.,                         :      JURY TRIAL DEMANDED
                                                            :
                                 Defendants.                :
                                                            x

                              PLAINTIFFS' NOTICE OF
                      VOLUNTARY DISMISSAL WITHOUT PREJUDICE

                  Plaintiffs Cristobal and Theresa Alvarez, Cytheria Artis, Pamela Berry,

William Boleware, Earlie Braden, Annie Brooks, Devin L. and Linda Crymes, Ezell and

Alice Foster, William Garcia, Carmen Garza, Harrison Gibbs, Berteresa Harris, Terrance Hill,

Curtis and Nettie Hill, Sara and Mauro Jimenez, Emma Johnson, Frank Kresich,

Chinita Lindsay, Lori Locklear, Maritza Lopez, William Luckett, Angela McFerrin,

Margo Morris, Donald Mosley, Raymond Mosley, Sandra Muniz-Garza, Melissa Peterson,

Natalie Robinson, Jose and Natalia Sanchez, Madeleine A.P. Spann, John and Delphine Sullivan,

Micheal        Trambles   and    Chanthini     Fowler,   Bernice     Victor,   Dwayne    Washington,

Isaac Washington, Jacqueline Washington-Brown, Sarah Willis, and Betty Zic ("Plaintiffs"), by

their undersigned pro bono counsel, hereby voluntarily dismiss, without prejudice, their

Complaint against Defendants Mining Remedial Recovery Company ("MRRC"), Arava Natural

Resources Company, Inc. ("Arava"), and Mueller Industries, Inc.'s ("Mueller") (collectively, the

"U.S. Smelter Affiliates") pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).




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                  Plaintiffs filed their Complaint on October 31, 2017. The matter is currently in

the motion to dismiss briefing stage.        Plaintiffs originally filed this lawsuit against both

U.S.S. Lead Refinery, Inc. ("U.S.S. Lead") and the parent companies that own U.S.S. Lead—the

U.S. Smelter Affiliates. Plaintiffs have decided to voluntarily dismiss, without prejudice, the

U.S. Smelter Affiliates at this time.

                  WHEREFORE, Plaintiffs, by their undersigned pro bono counsel, hereby

voluntarily dismiss, without prejudice, their Complaint against Defendants MRRC, Arava, and

Mueller—the U.S. Smelter Affiliates—pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i).


Dated: March 9, 2018                    Respectfully submitted,

                                        CRISTOBAL and THERESA ALVAREZ,
                                        CYTHERIA ARTIS, PAMELA BERRY,
                                        WILLIAM BOLEWARE, EARLIE BRADEN,
                                        ANNIE BROOKS, DEVIN L. and LINDA CRYMES,
                                        EZELL and ALICE FOSTER, WILLIAM GARCIA,
                                        CARMEN GARZA, HARRISON GIBBS,
                                        BERTERESA HARRIS, TERRANCE HILL, CURTIS and
                                        NETTIE HILL, SARA and MAURO JIMENEZ,
                                        EMMA JOHNSON, FRANK KRESICH,
                                        CHINITA LINDSAY, LORI LOCKLEAR,
                                        MARITZA LOPEZ, WILLIAM LUCKETT,
                                        ANGELA MCFERRIN, MARGO MORRIS,
                                        DONALD MOSLEY, RAYMOND MOSLEY,
                                        SANDRA MUNIZ-GARZA, MELISSA PETERSON,
                                        NATALIE ROBINSON, JOSE and NATALIA SANCHEZ,
                                        MADELEINE A.P. SPANN, JOHN and DELPHINE
                                        SULLIVAN, MICHEAL TRAMBLES and
                                        CHANTHINI FOWLER, BERNICE VICTOR,
                                        DWAYNE WASHINGTON, ISAAC WASHINGTON,
                                        JACQUELINE WASHINGTON-BROWN,
                                        SARAH WILLIS, and BETTY ZIC




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                             By: /s/ David J. Chizewer
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                             Pro Bono Counsel for Plaintiffs




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                               CERTIFICATE OF SERVICE

               The undersigned, an attorney, certifies that on March 9, 2018, he caused a true

and correct copy of PLAINTIFFS' NOTICE OF VOLUNTARY DISMISSAL WITHOUT

PREJUDICE to be served via the Court's ECF/electronic mailing system and/or email upon all

counsel of record.




                                               /s/ David J. Chizewer
